® AO 472 (Rev. 3/86) Order of Detention Pending Trial

 

 

 

 

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UNITED STATES DISTRICT COURT
Northern District of Texas at Fort Worth
UNITED STATES OF AMERICA
V. ORDER OF DETENTION PENDING TRIAL
MICHAEL WEBB Case 4:19-MJ-433
Defendant

In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude
that the following facts require the detention of the defendant pending trial in this case.

Part I—Findings of Fact
[] (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted ofa [[] federal offense [[] state
or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed _ that is
{] acrime of violence as defined in 18 U.S.C. § 3156(a)(4).
(1 an offense for which the maximum sentence is life imprisonment or death.
([] an offense for which a maximum term of imprisonment of ten years or more is prescribed in

 

 

[) a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
§ 3142(f)(1)(A)-(C), or comparable state or local offenses.

CL] (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
LC +) A period of not more than five years has elapsed since the [] date of conviction [[] release of the defendant from imprisonment

for the offense described in finding (1).
L] (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination Ea RI OF TEES

safety of (an) other person(s) and the community. I further find that the defendant has not reg RUthisyResubt hn up

Alternative Findings (A) _S: (LED

(] (1) There is probable cause to believe that the defendant has committed an offense —

() for which a maximum term of imprisonment of ten years or more is prescribed in

C1 under 18 U.S.C. § 924(c). MAY ci cul
CI under
[] (2) The defendant has not rebutted the presumption established by finding 1 that no condition o
the appearance of the defendant as required and the safety of the community.
&, Alternative Findings (B) By ——— Tp
(1) There is a serious risk that the defendant will not appear.
Y (2) There is a seriou A that the defendant,will end eh the safety of another person or the community.

waived tention hearing

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Part II—Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by | [1 clear and convincing evidence (1) a prepon-
derance of the evidence that

 

 

 

 

in connection with a court proceeding.

May 21, 2019

 

Date Signature of Judicial Officer
JEFFREY Lf CURETON, UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 e¢ séq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951
et seq.) or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).

 
